Case 1:17-cV-00521-CWD Document 3 Filed 12/27/17 Page 1 of 16

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Attomey for Plaintiffs

lN THE UNlTED STATES DISTRICT COURT

FOR THE DISTRICT OF lDAl~lO

P.R., a minor and S.R. MOTHER AND NATURAL
GUARDIAN .

Plaintiffs
v.

SHOSHONE SCHOOL DlSTRICT NO. 321; K.C.

 

 

Case No. 1-17-CV-521- CWD

PLAINTIFF’S COMPLAINT AND

PRINClPAL/ sUPERINTENDENT; R.W. ; DOE DEMAND FOR JURY TRIAL
DEFENDANTS 1-8;
PUBLIC NoT sEALED
Defendants. ANONYMOUSLY DENOMINATED
PARTlEs
SUMMARY OF THIS ACTION

 

This case arises from Defendants’ deliberate indifferent response to a student-on-

student rape on school premises followed by a form of retaliation and illegal response

including; failure to appropriately investigate and respond to the rape of P.R. by a fellow

student of the Shoshone School District namely, L.V.; subjecting plaintiff to a hostile

environment and sexual discrimination that denied her an education in the District and

causing personal injury and damages

PLAINTIFF’S COMPLA|NT AND DEMAND FOR JURY TRIAL- l

Case 1:17-cV-00521-CWD Document 3 Filed 12/27/17 Page 2 of 16

This is a Civil Rights Action invoking the remedies and protections of Title IX of
the United States Statutes, denial of equal protection of the law and denial of equal
treatment as per Title IV of the Civil Rights Act of 1964 codified at 14 USC§1983 and
protection of the law provided by the Fourteenth Amendment to the U.S. Constitution.

PRELIMINARY STATEMENT DESCRIBING THE PARTIES

l. Plaintiff P.R. is a minor age fourteen who was born in Twin Falls, Idaho,
and is presently a resident and citizen of Gooding Idaho, attending high school within the
Gooding School District.

2. Defendant, Shoshone School District (hereinaiter District) is a duly
constituted public school district and a state of Idaho body corporate and political
subdivision of the State organized and operating under the laws of the State of Idaho and
subject to the Federal Statutes and U.S. Constitution. The District is a “person” under the
laws and the Constitution of the United States of America. K.C. was and is at all times
relevant the Superintendent/Piincipal and employee of Shoshone Middle School as well as
an instructor/teacher residing in the County of Lincoln, City of Shoshone; State of Idaho;
KW. at all times relevant was an employee of the district and the Title lX administrator for
the District.

3. The school district is governed by a board of trustees which has policy-
making authority for the district including the right to equal opportunity, anti-harassment,
and sexual assault. The School Board has the clear duty to promulgate policies, rules and
regulations and take preventative and corrective action to prevent any type of
discrimination, harassment, mental abuse and physical abuse of and by students within its
component schools; it acts by and through those district employees responsible for
administration of policies.

4. Defendant, K.C. the Principal/ Superintendent, in her official and individual
capacity, works within the County of Lincoln, State of Idaho.

5. During all material times, K.C. the Principal/Superintendent was an agent

and/or employee and R.W. was an employee of Defendant School District, acting or failing

PLAINTIFF’S COMPLAlNT AND DEMAND FOR JURY TRlAL- 2

Case 1:17-cV-00521-CWD Document 3 Filed 12/27/17 Page 3 of 16

to act within the scope, course and authority of their employer.

6. Doe Defendants l - 8 are individuals whose true and correct identities are
not yet known to the Plaintiff ; leave will be sought from the Court to amend this complaint
once and if additional facts are known.

7. On or about the month of April 2017, specifically April 23 thru 26, 2017,
Defendants were aware of P.R. being subjected to a sexual assault and rape by an older
student, L.V. which occurred in a computer laboratory room in the school building owned
and operated by the District. Proper investigation, remedial action and reporting did not
occur.

8. Plaintiff was a female and a minor age thirteen (13) on April 24, 2017.

9. Plaintiff was a resident of the County of Lincoln, State of Idaho, and is now
residing in the County of Gooding, State of Idaho.

10. At the time of events stated herein, Plaintiff was a student attending the
middle school/high school, within the District.

ll. The Defendant, District, is a public educational institution of the State of
Idaho.

12. At all material times K.C. was a Principal/Superintendent and in her official
and individual capacity was employed by the Disnict; a political subdivision of the State of
Idaho.

13. During all material times, the Superintendent was an agent and/or employee
of the District and acting or failing to act within the scope, course and authority of her
employment and duties.

14. At all material times, S. R. was the natural mother of P.R. and in April of 2017,
was a resident of Shoshone, State of Idaho.

15. At all material times, (R.W.) was the Title IX Coordinator and in his official
and individual capacity, was employed by the District.

16. At all material times, R.W. the Title IX Coordinator was an agent of the
Defendants, District and herein alleged to be acting or failing to act within the scope,
course and authority of his employment and duties.

17. At all material times, Plaintiff’s attacker, L.V. was a student attending
classes Within the same physical plant and building located in Shoshone, Idaho.

PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL- 3

Case 1:17-cV-00521-CWD Document 3 Filed 12/27/17 Page 4 of 16

JURISDICTION AND VENUE

 

18. This Court has subject matter jurisdiction over this case pursuant to 28
U.S.C. § 1331, which gives district courts jurisdiction over all civil actions arising under
the Constitution, laws, and treaties of the United States.

19. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1343,
which gives district courts original jurisdiction over (a) any civil action authorized by law
to be brought by any person to redress the deprivation, under color of any State Law,
statute, ordinance, regulation, custom or usage, of any right, privilege or immunity secured
by the Constitution of the United States or by any Act of Congress providing for equal
rights of citizens or of all persons within the jurisdiction of the United States; and (b) any
civil action to recover damages or to secure equitable relief under any Act of Congress
providing for the protection of the civil rights.

20. Plaintiff brings this action to redress a hostile educational environment with
redress provided by Title IX of the Education Amendrnents of 1972, 20 U.S.C. § 1681(a)
and case law.

21. This is also an action to redress the deprivation of Plaintiff’s constitutional
rights under the Fourteenth Amendment of the United States Constitution pursuant to 42
U.S.C. § 1983 and the Civil Rights Acts of the United States including retaliation; 20
U.S.C. 1681.

22. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b); Defendants
reside in this designated United States District for its courts and the events giving rise to

the claims occurred in this District.

APPLICABLE LAW AND POLICY

 

23. All claims regarding liability and damages are codified law and applicable
to all citizens and residents of the state including Plaintiff`. Relevant statutes of the United
States include the following:

a. §1981 ofthe Civil Rights Act of 1866 and 1871; 42 U.S.C. §1981 and
Title VI of the Civil Rights Act of 1964 and Title VII of the Civil Rights
Act of 1964, 42 U.S.C. 200E-2(a); 43 U.S.C. Sec.1983

PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRlAL- 4

Case 1:17-cV-00521-CWD Document 3 Filed 12/27/17 Page 5 of 16

b. All applicable provisions of the Civil Rights Acts of the United States of
America, including those as stated in §1983 of the 1871 Civil Rights Act;
14th Amendment of the United States Constitution for deprivation of
property and life without due process of law. Under Idaho Statutes, Title
33, Chapter 5, District Trustees 33-513. PROFESSIONAL PERSONNEL
(2) and (3) District Trustees have the authority to employee a
Superintendent who “shall also act as the authorized representative of the
district” and principals “who shall supervise the operation and
management of the school in accordance with the policies established by
the board of trustees and who shall be under the supervision of the
superintendent.” Kelly Chapman was that designated person.

d. 'l`itle IX of the Education Amendments of the 1972 (Title IX, 20 U.S.C.
§1681 et seq.)

e. Each and every law, codes or statutes of the State of Idaho and/or the
United States of America relevant which is regarded as a Civil Rights law
even if not specifically cited herein.

CASE LAW AND STATUTORY HIsToRY RELEVANT To ALL CAUSES oF
M

24. Title IX of the Education Amendrnents of 1972 (“Title IX”), 20 U.S.C. §
1681(a), states that:

No person in the United States shall, on the basis of sex, be excluded from

participation in, be denied the benefit of, or be subjected to discrimination

under any education program or activity receiving Federal financial

assistance. . . .

25. Title IX is implemented through the Code of Federal Regulations. See 34
C.F.R. Part 106.

26. 34 C.F.R. § 106.8(b) provides:

. . . A recipient shall adopt and publish grievance procedures providing for prompt
and equitable resolution of student and employee complaints alleging any action
which would be prohibited by this part.

PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL- 5

Case 1:17-cV-00521-CWD Document 3 Filed 12/27/17 Page 6 of 16

27. In Gebser v. Lago Vista Independent School District, 524 U.S. 274 (1988),
the United States Supreme Court recognized that a recipient of federal educational funds
intentionally violates Title IX, and is subject to a private damages action, where the
recipient is “deliberately indifferent” to known acts of sexual assault

28. In Davis v. Monroe County Board of Education, 526 U.S. 629 (1999), the
United States Supreme Court extended the private damages action recognized in Gebser to
cases where the harasser is a student, rather than a teacher.

29. Davis holds that a complainant may prevail in a private Title IX
damages action against a school district in cases of student-on-student harassment
where the funding recipient is:

a. deliberately indifferent to sexual harassment of which the recipient
has actual knowledge, and
b. the harassment is so severe, pervasive, and objectively offensive
that it can be said to deprive the victims of access to the
educational opportunities or benefits provided by the school.
Davis, 526 U.S. at 1669-76.

30. The Fotu‘teenth Amendment to the United States Constitution provides in
pertinent part that no State shall “deny to any person within its jurisdiction the equal
protection of the laws.” U.S. Const. amend. XIV, § l.

31. The Disn’ict’s Board of Trustees adopted anti-bullying, ami-discrimination
and ami-harassment policies including those prohibiting sexual attacks and predation by

students upon one another with corrective and punitive action to be taken against offenders

COMMON ALLEGATIONS

32. At all material times, the District was receiving federal funding, as provided
by Title IX, 20 U.S.C. § 1681, et seq.

33. The District implemented and executed policies and customs in regard to the
events that resulted in the deprivation of Plaintiff’s constitutional, statutory, and common-
law rights.

34. The District is responsible for ensuring that all its employees are properly
trained and supervised to perform their jobs.

35. The District is responsible for the acts and omissions of its employees. The

District acts and governs through its administrative personnel who are delegated authority

PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRlAL- 6

Case 1:17-cV-00521-CWD Document 3 Filed 12/27/17 Page 7 of 16

to enforce all policies and statutory law and “stand in place” therefore , for the District

36. At the time of the attack that gave rise to the events complained of herein,
P.R. was a thirteen (13) year old female at Shoshone Middle School.

37. At the time of the attack that gave rise to this action, student L.V. was in his
junior year and was a prominent athlete at the school.

38. On April 24 and 25 2017, L.V. violently without her consent, forcibly had
sexual intercourse with P.R in an unlocked lab-computer room located in Shoshone High
School which was unsupervised and could be locked from the inside, requiring a key for
entry. The room was unlighted and the door locked automatically after entry.

39. The school had in place a surveillance and videotaping system monitoring
hallways and classrooms including the computer lab. The videotaping equipment recorded
the rape of P.R. as well as various other actions including P.R. and L.V. carefully walking
past the offices of the Principal/Superintendent, closely together and alone while all other
students were in classrooms. Details of the videotaping; those responsible for it and all
means of using the equipment are yet unknown but subject to discovery.

40. On or about April 24 and/or 25, 2017, on one day of a rapes
Principal/Superintendent K.C. With her keys, unlocked the door to the computer lab room
and found L.V. AND P.R. therein. L.V. stated that they were watching a laptop movie.
K.C. performed no investigation or questioning, other than directing that they leave the
room.

41. On or about April 26, 2017, a videotape of the rape and assault was viewed
by employees of the school district, including but not limited to K.C. K.C. notified PR’S
mother , as well as the Lincoln County Sheriff’ s Office who came to the school to
commence an investigation. S.R. was informed of the rape and assault. K.C. AND R.W.
were aware of the school policies and various specific laws and remedies of the State of
Idaho and of the United States applicable to the brutal rape and assault of P.R. and what
action needed to be immediately undertaken.

42. On or about April 26, 2017, Lincoln County officer Greene was assigned to
the case, which was determined to be lewd and lascivious conduct by a seventeen (17) year
old male L.V. with a thirteen (13) year old female that occurred at the Shoshone High
School on April 24 and April 25, 2017, He reported that Principal/Superintendent K.C. had

PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL- 7

Case 1:17-cV-00521-CWD Document 3 Filed 12/27/17 Page 8 of 16

reported these incidents after finding the juveniles together and reviewing the videos from
the surveillance cameras. The female was identified by the officers as P.R. with a birth
date of August 5, 2003, and L.V. identified as a seventeen (17) year old male residing in
Shoshone, Idaho. Lincoln County officers during their investigation, determined that on
April 24, 2017, sexual intercourse had occurred in the high school computer lab and that it
also occtu'red on April 25 and thereafter , in 2017 in the same place as confirmed by the
surveillance cameras.

43. As part of the investigation the Shoshone Sheriff's office took possession of
cell phones and lap tops used by P.R. AND L.V. L.V. was placed into custody and
transported to the Snake River Detention Center.

44. Following an investigation by the Sheriii"s office L.V. was charged as a
juvenile and thereafier plead guilty on or about November 17, 2017, to multiple charges of
lewd conduct with a child under 16; felonies as per I.C. §118-1508.

45. On information and belief, L.V. was not incarcerated other than a short
period of home detention.

46. R.W. the District’s Title IX coordinator was told of the attack; it is
unknown if he conducted his own investigation or made any reports; this complaint will be
amended from time to time as necessary following discovery.

47. At all times relevant, Shoshone School District had in place hazing,
harassment, domestic violence and sexual harassment policies, including but not limited to
those identified as code JBA/GBN; JBA/GBN-AR(I); JFCF-AR; and JHFF. These
policies state investigative, notification and reporting requirements for Shoshone School
District the Principal K.C. and the Title IX Coordinator R.W. Pending discovery the filll
extent is unknown of what investigation, reporting or other actions were taken by the
principal and/or the Title IX coordinator, other than cooperating with the Lincoln County
Sherif`i°s Office and the Lincoln County Prosecutor.

48. From and after the sexual assault P.R. was harassed and frightened.
Following the investigation in April of 2017, Defendants allowed the attacker L.V. to
continue to attend Shoshone High School with a one day suspension from classroom
activity. Unknown at that time was that L.V .s father was and is a part-time soccer coach
for the Shoshone School District. The family of L.V. had resided for over three decades in

PLAlNTlFF’S COMPLAlNT AND DEMAND FOR JURY TRIAL- 8

Case 1:17-cV-00521-CWD Document 3 Filed 12/27/17 Page 9 of 16

the Shoshone area and had cultivated professional and personal relationships with school
faculty, trustees and administrative personnel.

49. Within ten (10) days following the rape and subsequent investigation, K.C.
held a meeting with P.R. and her mother S.R. and presented P.R. with two options for
continuing with her schooling; namely, (1) terminating and quitting her education at all
Shoshone District institutions with no further remedial action of any kind or; (2) being
“home schooled” with no actual attendance at any Shoshone school. The school would
provide P.R. with homework assignments on a weekly basis. Frantic to have P.R. receive
an education, she and her mother made the decision to take option #2 and to be home
schooled by the presentment of ‘lessons’. That option and the providing of ‘lessons’
occurred once and never again. The lessons were to be provided on a weekly basis; despite
the efforts of P.R. and her mother to obtain further assignments after the first week none
were furnished

50. Now desperate to continue her education P.R. her brother and mother
although destitute, were forced to leave their home in Shoshone and relocate in Gooding,
Idaho, for the purpose of continuing the education of the two teenagers. The Defendant
District, and its employees did nothing to remedy or mediate the severe damages suffered.

51. The Defendant District, as per the acts of its employees, deliberately and
negligently exposed Plaintiff to a known and obvious danger. That is, mental and physical
damage abuse and sexual discrimination all under color of state and federal law.

52. By reason of Defendants acting under color of law depriving Plaintiff of the
rights, privileges and immunities secured by the Equal Protection Clause of the 14th
Amendment of the United States Constitution and 42 U.S.C §1984 and enforcement of
violations under 28 U.S.C. §2201-2202 Plaintif"f; seeks a declaration of her federal civil
rights; in the form of a final judgment that her civil rights have been violated rather than a
declaratory statement of j udgment in addition to all damage claims herein stated.

53. Plaintiff P.R. suffered severe physical and mental distress, physiological
damage, loss of standing in their community and damage to her reputation. Plaintiff and
her mother S.R. have been required to attend counseling and receive treatment for
physiological damage and emotional distress with psychotropic medication as a result of

the actions complained of herein. Plaintiff and her mother and brother are destitute; have

PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRlAL- 9

Case 1:17-cV-00521-CWD Document 3 Filed 12/27/17 Page 10 of 16

turned to charity for help with rent and food and other necessities of living.

54. P.R. has been deprived of a normal childhood education in Shoshone due
to the Defendants’ conduct which includes intentional deprivation of a continual education
environment

55. Plaintiffs have been damaged both temporarily and permanently and
suffered mental and bodily injuries and damages by reason of the actions and failure to act
of the Shoshone School District by its agents and employees K.C. AND R.W.

CLAIMS FOR RELIEF

56. Plaintiffs requests Claims for Relief for violation for the laws, codes and
regulations of the State of Idaho and the United States, including those provided by
Constitutions, all as stated herein and also referenced as “Causes of Action”. All causes of
action are based upon all State and Federal Laws, Constitutions, Statutes and Regulations
applicable regardless of proper denomination.

CoUNT 1
vroLATroN oF TITLE lx
As To DEFENDANT snosHoNE scHooL DISTRICT
(20 U.s.C. § 1681, ezseq.)

(The School’s Deliberate Indifl`erence to Alleged Sexual Harassment and Attack)

57. Paragraphs l through 56 are incorporated by reference as if stated in full
herein.

58. The sex-based harassment articulated in the Plaintiffs’ General Allegations
was so severe, pervasive, and objectively offensive that it deprived Plaintiff of access to
educational opportunities or benefits provided by the school.

59. The Defendant District subjected Plaintiff to a hostile educational
environment in violation of Title IX of the Education Arnendments of 1972, 20 U.S.C. §
1681(a) (“Title IX”), because:

a. Plaintiff was a member of a protected class;
b. she was subjected to sexual harassment in the form of a sexual assault by

another student;

PLAlNTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL- 10

Case 1:17-cV-00521-CWD Document 3 Filed 12/27/17 Page 11 of 16

c. she was subjected to a hostile educational environment created by the School
District’s lack of policies and procedures and failure to properly investigate
and/or address the rape and discipline the offender rather than the victim.

d. she was forced to leave school and move to another educational facility in
another city and leaving the attacking offender who was charged and who plead
guilty to major felonies in the school, with impunity.

60. Defendant District and its officials had actual knowledge of the sexual
assault and the resulting harassment of Plaintiff created by its failure to investigate and
discipline Plaintiff s attacker in a timely manner and consistent with its own policy and
federal and state law.

61. The Defendant District’s failure to promptly and appropriately respond to
the alleged sexual harassment, resulted in Plaintiff, on the basis of her sex, being excluded
from participation in, being denied the benefits of and being subjected to discrimination in
the District’s education program in violation of Title IX.

62. Defendant District failed to take immediate, effective remedial steps to
resolve the complaints of sexual harassment and instead acted with deliberate indifference
toward Plaintiff.

63. Defendant District persisted in its actions and inaction even after it had
actual knowledge of the harm suffered by Plaintiff.

64. Defendant District engaged in a pattern and practice of behavior designed to
discourage and dissuade students and parents of students who had been sexually assaulted
fi'om seeking prosecution and protection and from seeking to have sexual assaults from
being fully investigated

65. This policy and/or practice constituted disparate treatment of females and
had a disparate impact on female students.

66. Plaintiffs have suffered emotional distress and psychological damage, and
their character and standing in her community have suffered from the harassment fostered
as a direct and proximate result of Defendant District’s deliberate indifference to their
rights under Title IX.

COUNT ll
VIOLATION OF TITLE IX
AS TO DEFENDANT, SHOSHONE SCHOOL DISTRICT

PLAIN'I`IFF’S COMPLAINT AND DEMAND FOR JURY TRIAL- ll

Case 1:17-cv-00521-CWD Document 3 Filed 12/27/17 Page 12 of 16

(20 u.s.C. § 1681, ezseq.)

(Retaliation by Withholding Protections Otherwise Coofer'red by Title IX)
67. Paragraphs 1 through 66 are incorporated by reference as if stated in full
herein.
68. The Defendant herein retaliated against the Plaintiff by insisting that she not
be allowed to attend the normal schooling process at the Shoshone School District and
otherwise failing to comply with their responsibilities as mandated by Title IX. Forcing her

to quit school afier such a hideous rape and attack was unconscionable

COUNT III
1983 VIOLATION AS TO
DEFENDANTS SHOSHONE SCHOOL DISTRICT,
CHAPMAN AND WAITE
(42 U.S.C. § 1983)

69. Paragraphs 1 through 68 are hereby incorporated by reference as if set forth
in full herein.

70. Under the Fotnteenth Amendment, Plaintiff had the right as a public school
student to personal security and bodily integrity and Equal Protection of Laws.

71 . K.C. AND R.W. were acting under the color of federal and state law.

72. Plaintiff P.R. has had significant violations of her right to personal security
and bodily integrity and Equal Protection of Laws by K.C. AND R.W. and others in failing
to appropriately discipline her attacker and being deliberately indifferent to her health,
safety and welfare thereafter failing to adequately train and supervise School District
employees with regard to maintaining, preserving and protecting students from violations
of their right to personal security, bodily integrity, and Equal Protection of the Laws.

73. These Defendants are and were at all times complained herein, the policy
makers for the purpose of implementing the School Districts’ policies regarding sexual
assault, discrimination and harassment

74. P.R. has suffered emotional distress and psychological damage, and her
character and standing in her community have suffered from the harassment fostered as a

direct and proximate result of Defendant, District’s deliberate indifference to her rights

PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL~ 12

Case 1:17-cV-00521-CWD Document 3 Filed 12/27/17 Page 13 of 16

under the Fourteenth Amendment,

COUNT IV
SHOSHONE SCHOOL DISTRICT LIABILITY FOR FAILURE TO TRAIN AND
SUPERVISE AS TO RESPONSE TO SEXUAL ASSAULT
(42 U.S.C. § 1983)

75. Paragraphs 1 through 74 are hereby incorporated by reference as if set forth
in full herein.

76. Defendant District and K.C. AS WELL AS R.W. , were “state actors”
working for Shoshone School District, a federally funded school system.

77. Defendant District and K.C. AS WELL AS R.W. acted under “color of
law” when refusing to respond to Plaintiff”s sexual assault on school premises

78. Defendant District and K.C. AS WELL AS R.W. failed to preserve
Plaintifi"s constitutional right to equal protection as guaranteed by the Fourteenth
Amendment,

79. Under the Equal Protection Clause of the Fourteenth Amendment, Plaintiff
had the right to equal access to an educational environment free from harassment and
discrimination

80. Defendant District and K.C. AS WELL AS R.W. should have known that
their response to sexual assault allegations must comply with federal law, particularly as
outlined in Title IX’s published and widely promulgated implementing regulations

81. Defendant District ; K.C. AS WELL AS R.W. each violated Plaintiff’s right
to equal access by:

a. Failing to take immediate and appropriate action to investigate or otherwise

determine what occurred once informed of possible sexual violence;

b. Failing to take prompt and effective steps to end the sexual violence, prevent
its recurrence, and address its effects, whether or not the sexual violence is
the subject of a criminal investigation;

c. Failing to take steps to protect the Plaintiff as necessary, including interim
steps taken prior to the final outcome of the investigation;

d. Failing t_o follow the grievance procedure for students to file complaints of

sexual discrimination, including complaints of sexual violence, The

PLAINTIFF’S COMPLAlNT AND DEMAND FOR JURY TRIAL-» 13

Case 1:17-cV-00521-CWD Document 3 Filed 12/27/17 Page 14 of 16

procedures must include an equal opportunity for both parties to present

witnesses and other evidence and the same appeal rights;

COUNT V
NEGLIGENT AND INDIFFERENCE SUPERVISION

82. Paragraphs 1 through 81 are hereby incorporated by reference as if set forth
in full herein.

83. The Defendants individually collectively and in their individual capacities,
had a duty to supervise the staff and students of the District in a manner intended and
designed to protect the Plaintiff from racial harassment, racial discrimination and mental
and physical abuse by her fellow students

84. The District, K.C. AS WELL AS R.W.in their individual and representative
capacities negligently failed to protect the Plaintiff from racial harassment, racial
discrimination and mental and physical abuse by her fellow students on school property
and during school activities, on and off campus, sponsored or sanctioned by the District.

85. As a result of the negligence and deliberate indifference of the Defendants

herein the Plaintiff has suffered damages in an amount to be proved at trial.

COUNT VI
NEGLIGENT FAILURE TO TRAIN

86. Paragraphs 1 through 85 are hereby incorporated by reference as if set forth
in full herein.

87. Defendant District, its Trustees and administrators had a clear duty to train
school faculty and staff to recognize bullying behavior and take appropriate and effective
steps to protect students from such behavior, including mental and physical abuse of
vulnerable students by their fellow students

88. Defendant District, its Trustees and administrators negligently failed to train
its faculty and staff and thereby breached its duty to the Plaintiff.

89. As a result of the negligence and deliberate indifference of the District, its
Trustees and administrators the Plaintiff has suffered damages in an amount to be proved at

trial.

PLAINTIFF’S COMPLA[NT AND DEMAND FOR JURY 'I`RIAL- 14

Case 1:17-cV-00521-CWD Document 3 Filed 12/27/17 Page 15 of 16

COUNT VII
NEGLIGENT FAILURE TO INFORM AND EDUCATE

90. Paragraphs 1 through 89 are hereby incorporated by reference as if set forth
in full herein.

91. The District, its Trustees and administrators had an affirmative duty to set
policies and inform and educate its students as to what constituted bullying and that such
behavior would not be tolerated on school property or during school activities on or off
campus

92. The District, its Trustees and administrators negligently and with deliberate
indifference failed to meet the duties set forth in paragraph 91 above and thereby breached
such duty to the Plaintiff.

COUNT VIII
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

93. Paragraphs 1 through 92 are hereby incorporated by reference as if set forth
in full herein.

94. The conduct of the Defendants in permitting the harassment, humiliation,
mental abuse, physical abuse and rape of the Plaintiff was extreme and outrageous

95. As a direct and proximate result of the extreme and outrageous conduct of
the Defendants, the Plaintiff has suffered severe emotional distress

COUNT IX
NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

96. Paragraphs 1 through 95 are hereby incorporated by reference as if set forth
in full herein.

97. The Defendants herein, individually, collectively and in their individual and
collective capacities, all owed to the Plaintiff a duty to protect her and keep her safe from
racial harassment, humiliation and abuse both mental and physical.

98. The conduct of the Defendants in permitting the harassment, humiliation,
mental abuse, physical abuse and rape of the Plaintiff was extreme and outrageous and
done with deliberate indifference

99. As a direct and proximate result of the extreme and outrageous conduct of

the Defendants, the Plaintiff has suffered severe emotional distress

PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRlAL- 15

Case 1:17-cV-00521-CWD Document 3 Filed 12/27/17 Page 16 of 16

PRAYER FOR RELIEF

Plaintiffs respectfully requests that the Court enter a judgment in their favor against
the Defendants, jointly and individually and award the following relief:

1. Money damages in an amount calculated to fairly and reasonably
compensate the Plaintiffs for the deprivation of their rights, including compensatory
damages, special economic damages; consequential and presumed damages by reason of
all discriminatory acts including but not limited to racial discrimination and all other
violations of those statutes, laws and regulations as cited herein; mental and physical
assault and abuse, including rape; and damages for civil rights violations in the sum of not
less than five million dollars

2. Declaration that the Defendants violated the Plaintiff's constitutional rights
under the Idaho Constitution and the Constitution of the United States

3. Plaintiffs reserves the right to further amend this complaint regardless of the
time limitations of the Scheduling and Litigation Plan herein to add an additional claim;
Punitive Damages.

4. Any and all other appropriate relief, including injunctive or declaratory
relief.

5. Attomeys’ fees, costs, pre and post judgment interest at the highest lawful
rate.

6. Any and all other relief with respect to damages, violations of law, and
violations of the Constitutions of Idaho and the United States of America as the court
deems just in the premises

7. Plaintiff reserves the right to amend this complaint as necessary,

8.

   
  

laintiff herein demands a jury tri
DATED this y of December, 2017.

n all ` sues triable to a jury.

 

E.l:ee Schlender Attorney for Plaintiffs

PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TR[AL- 16

